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      5
      6   Attorney for RUBEN PRAKSHA BALI
      7
      8                             IN THE UNITED STATES DISTRICT COURT
      9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
    10
    11    UNITED STATES OF AMERICA,                     Case No.: 2:04 cr 325 JAM
    12
                             Plaintiff,                 STIPULATION AND ORDER
    13                                                  CONTINUING REVOCATION OF
    14              vs.                                 SUPERVISED RELEASE
                                                        PROCEEDINGS
    15    RUBEN PRAKSHA BALI,
    16
                             Defendant.
    17
    18              Defendant RUBEN PRAKSHA BALI, by and through his attorney, Peter J.

    19    Boldin, and the United States, by and through Assistant United States Attorney Matthew
    20    Stegman, hereby stipulate and agree to continue revocation of supervised release
    21
          proceedings in the above-captioned case from Tuesday, October 6, 2009 at 9:30 a.m. to
    22
          Tuesday, October 20, 2009 at 9:30 a.m. The continuance is requested so that Mr. Bali
    23
    24    may proceed first with his State Court criminal proceedings of which the revocation

    25    proceedings in this Court are based off of. Mr. Bali has State Court proceedings
    26    currently scheduled for October 15, 2009 at 8:30 a.m. in Sacramento County Superior
    27
          Court in Department 4.
    28
          ///


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                       Case 2:04-cr-00325-JAM Document 84 Filed 10/05/09 Page 2 of 2


      1   Dated: October 2, 2009                          Law Office of Peter J. Boldin
      2
                                                          By:    /s/ Peter J. Boldin
      3                                                          PETER J. BOLDIN
                                                                 Attorney for Ruben Bali
      4
      5   Dated: October 2, 2009                          LAWRENCE BROWN
                                                          Acting United States Attorney
      6
      7                                                   By:    /s/ Matthew Stegman
                                                                 MATTHEW STEGMAN
      8                                                          Assistant U.S. Attorney
      9
    10
    11                                                  ORDER
    12              GOOD CAUSE APPEARING, in that it is the stipulation of the parties:
    13
                    IT IS HEREBY ORDERED that revocation of supervised release proceedings
    14
          scheduled for Tuesday, October 6, 2009 at 9:30 a.m. be continued to Tuesday, October
    15
    16    20, 2009 at 9:30 a.m.

    17
    18    Dated: October 5, 2009                                 /s/ John A. Mendez________
    19                                                           JOHN A. MENDEZ
                                                                 United States District Judge
    20
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